Case 20-10846 Doc 1589 Filed 06/13/22 Entered 06/13/22 14:49:00 Main Document Page 1 of
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                              UNITED STATES BANKRUPTCY COURT
                               EASTERN DISTRICT FOR LOUISIANA

       IN RE                                             §       CASE NO. 20-10846
                                                         §
       THE ROMAN CATHOLIC CHURCH OF                      §
       THE ARCHDIOCESE OF NEW                            §       CHAPTER 11
       ORLEANS,                                          §
                                                         §
           DEBTOR.                                       §       COMPLEX CASE

                                       ORDER TO SHOW CAUSE

           On June 7, 2022, this Court issued an Order, which in pertinent part, adopted the findings

   of the independent investigation of the Office of the United States Trustee (the “Trustee Report”),

   [ECF Doc. 1574], 1 that (i) attorney Richard Trahant received confidential information in

   connection with his representation of individual members of the Official Committee of Unsecured

   Creditors (the “Committee”) that was produced by the Debtor in the course of discovery in this

   case; (ii) Trahant had read and was bound by the Protective Order issued by this Court to guard

   against the unauthorized disclosure of highly confidential and sensitive information during the

   course of discovery in this case; (iii) Trahant knew that he was bound by the Protective Order; and

   (iv) beginning on December 31, 2021, Trahant provided on multiple occasions confidential

   information he received to a third party and the media in direct violation of this Court’s Protective

   Order. The Court also found, based on its review of documents appended to the Trustee Report,

   including Trahant’s own sworn testimony, that his disclosures and violation of the Protective Order

   was knowing and willful.

           The Court’s June 7, 2022 Order stated that the Court would issue a separate Order To Show

   Cause to determine appropriate sanctions for Trahant’s disclosure of confidential information in


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            The UST Report is currently filed under seal and remains under seal pursuant to 11 U.S.C.
   § 107(b)(2), “to protect a person with respect to scandalous or defamatory matter contained in a paper filed
   in a case under this title.”
Case 20-10846 Doc 1589 Filed 06/13/22 Entered 06/13/22 14:49:00 Main Document Page 2 of
                                            3



   violation of this Court’s Protective Order. This Court holds both “inherent contempt authority and

   equitable authority under § 105 [of the Bankruptcy Code].” In re Cano, 410 B.R. 506, 538 (Bankr.

   S.D. Tex. 2009). “Federal courts have inherent powers which include the authority to sanction a

   party or attorney when necessary to achieve the orderly and expeditious disposition of their

   dockets.” Carroll v. Abide (In re Carroll), 850 F.3d 811, 815 (5th Cir. 2017) (citations omitted);

   see also In re Spectee Grp., Inc., 185 B.R. 146, 155 (Bankr. S.D.N.Y. 1995) (“A Court has inherent

   authority to supervise and control its own proceedings, and to require the payment of the other

   party’s attorney’s fees by one who has ‘acted in bad faith, vexatiously, wantonly, or for oppressive

   reasons.’” (quoting Oliveri v. Thompson, 803 F.2d 1265, 1272 (2d Cir. 1986))).

          This Court also has a statutory grant of authority under § 105(a) of the Bankruptcy Code

   “to issue any order, process, or judgment that is necessary or appropriate to carry out the provisions

   of this title.” 11 U.S.C. § 105(a). In addition to granting broad power to implement provisions of

   the Bankruptcy Code, § 105(a) “has been interpreted as supporting the inherent authority of the

   bankruptcy courts to impose civil sanctions for abuses of the bankruptcy process.” In re Carroll,

   850 F.3d at 816 (quoting Walton v. LaBarge, Jr. (In re Clark), 223 F.3 859, 864 (8th Cir. 2000);

   Friendly Fin. Discount Corp. v. Tucker (In re Tucker), No. 99-31069, 2000 WL 992448, at *3 (5th

   Cir. June 28, 2000)); see also In re Tabor, 583 B.R. 155, 177 (Bankr. N.D. Ill. 2018) (citing In re

   Volpert, 110 F.3d 494, 500 (7th Cir. 1997)).

          Thus,

          IT IS ORDERED that Richard Trahant shall APPEAR on Monday, July 25, 2022, at

   10:00 a.m. AND SHOW CAUSE before this Court as to why he should not be sanctioned for his

   willful violation of this Court’s Protective Order;




                                                     2
Case 20-10846 Doc 1589 Filed 06/13/22 Entered 06/13/22 14:49:00 Main Document Page 3 of
                                            3



          IT IS FURTHER ORDERED that the United States Trustee shall provide the Trustee

   Report and all exhibits appended to the report to Mr. Trahant and any counsel he may retain to

   represent him in this matter; PROVIDED THAT Trahant’s counsel reviews, signs, and agrees to

   be bound by the Protective Order in this case and submits an executed Protective Order to the

   United States Trustee and counsel for the Debtor and the Committee. Mr. Trahant and counsel

   are reminded that the UST Report is currently filed under seal pursuant to 11 U.S.C.

   § 107(b)(2) and is considered to be highly confidential Protected Material and subject to the

   Protective Order.

          IT IS FURTHER ORDERED that counsel for the Debtor and the Committee are

   instructed to compile invoices identifying attorney and paralegal time spent on services related to

   the Debtor’s Motion for Entry of an Order: (A) Compelling the Tort Committee and/or Its Counsel

   to Answer Identified Questions, and (B) Setting an Evidentiary Hearing on Sanctions for Violation

   of Protective Order, [ECF Doc. 1256]. Those invoices are to be redacted for privilege and filed

   into the docket in this case, with unredacted copies delivered by hand to the Court, on or before

   Friday, July 1, 2022.

          IT IS FURTHER ORDERED that Mr. Trahant shall file a written response for this

   Court’s consideration regarding impositions of sanctions against him on or before Monday, July

   18, 2022.

          New Orleans, Louisiana, this 13th day of June, 2022.




                                                __________________________________________
                                                         MEREDITH S. GRABILL
                                                   UNITED STATES BANKRUPTCY JUDGE



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